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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
RONALD GENE GRIZZLE, JR., §
ID # 01935380 §
v. CIVIL ACTION NO. 3:19-CV-1526-S-BH
LORIE DAVIS

ORDER
After reviewing all relevant matters of record in this case, including the Findings,
Conclusions, and Recommendation of the United States Magistrate Judge and the objections
thereto, in accordance with 28 U.S.C. § 636(b)(1), the Court is of the opinion that the Findings and
Conclusions of the Magistrate Judge are correct, and they are accepted as the Findings and
Conclusions of the Court. For the reasons stated in the Findings, Conclusions, and
Recommendation of the United States Magistrate Judge, the petitioner’s Motion for Rehearing,
filed on October 6, 2020 [ECF No. 26}, is hereby DENIED.
SO ORDERED.
SIGNED January 12, 2021.

Keble

UNITED STATES DISTRICT JUDGE

 

 

 
